
STATE OF HAWAI`I, Respondent/Plaintiff-Appellee,
v.
MELODY C. LINE, Petitioner/Defendant-Appellant.
No. 27850.
Supreme Court of Hawaii.
April 20, 2009.
Gerald Johnson, for petitioner/plaintiff-appellant, on the application.

ORDER DISMISSING APPLICATION FOR WRIT OF CERTIORARI WITHOUT PREJUDICE
MOON, C.J., for the court[1]
It appearing that the judgment on appeal in the above-referenced matter has not been entered by the Intermediate Court of Appeals, see Hawai`i Revised Statutes § 602-59(a), as amended by Act 149 of the 2006 Hawai`i Session Laws; see also Hawai`i Rules of Appellate Procedure (HRAP) Rule 36(b)(1) (2006),
IT IS HEREBY ORDERED that petitioner/defendant-appellant Melody C. Line's application for writ of certiorari, filed April 16, 2009, is dismissed without prejudice to re-filing the application pursuant to HRAP Rule 40.1(a) ("No later than 90 days after the filing of the intermediate court of appeals' judgment on appeal or dismissal order, any party may apply in writing to the supreme court for a writ of certiorari.").
NOTES
[1]  Court: Moon, C.J., Nakayama, Acoba, and Duffy, JJ., and Circuit Judge Alm, assigned by reason of vacancy.

